Case 0:18-cv-62219-JIC Document 5 Entered on FLSD Docket 10/17/2018 Page 1 of 5



                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                      FORT LAUDERDALE DIVISION

                                 CASE NO.: 18-62219-CIV-COHN-SELTZER

 BARBARA GLATTER,

        Plaintiff,

 v.

 MSC CRUISES S.A., a Foreign
 Corporation,

        Defendant.
                                                       /

      AMENDED COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

         Plaintiff, BARBARA GLATTER, by and through the undersigned attorney, hereby files this

 Complaint for Damages and Demand for Jury Trial, and sues Defendant, MSC CRUISES S.A.

 (hereinafter “MSC CRUISES”), and alleges as follows:

                                        GENERAL ALLEGATIONS

         1.          This is an action seeking damages in excess of seventy-five thousand dollars

 ($75,000.00), exclusive of interest, costs, and attorneys’ fees.

         2.      At all times material hereto, BARBARA GLATTER was and is a resident of the state

 of Florida.

         3.      At all times material hereto, MSC CRUISES was and is a foreign corporation authorized

 to do and doing business in Florida, with its principal place of business in Florida.

         4.          This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1333. Further, this

 matter is being filed in the United States District Court for the Southern District of Florida located in

 Fort Lauderdale, Florida, as required by the forum selection clause contained within the Cruise Ticket
Case 0:18-cv-62219-JIC Document 5 Entered on FLSD Docket 10/17/2018 Page 2 of 5



 Contract issued by Defendant. Upon information and belief, Defendant is in possession of a copy of

 the subject Ticket Contract.

           5.     All conditions precedent for filing and maintaining this action have been fulfilled, have

 been waived, or do not apply.

           6.     At all times material hereto, Defendant owned, operated, maintained, managed,

 and/or controlled the cruise ship the MSC DIVINA.

           7.     On or about October 31, 2017, BARBARA GLATTER was a fare-paying passenger

 aboard the MSC DIVINA.

           8.     On or about October 31, 2017, BARBARA GLATTER was walking in a passenger

 area on an interior deck when she tripped and fell on a step that was not clearly visible and/or that

 was dangerously designed and/or dangerously maintained.

           9.     As a result of the aforementioned incident, BARBARA GLATTER sustained serious

 injury.

                                               COUNT I
                                             NEGLIGENCE

           Plaintiff hereby adopts and incorporates paragraphs 1 through 9 as if fully set-forth herein,

 and alleges as follows:

           10.    At all times material hereto, MSC CRUISES had the duty to use reasonable care under

 the circumstances, and to maintain and operate its vessel, the MSC DIVINA, in a reasonably safe

 condition and manner.

           11.    Additionally, at all times material hereto, MSC CRUISES owed a duty to their guests,

 including BARBARA GLATTER, to warn them of any unreasonably dangerous conditions on the

 vessel of which it was aware or should have been aware through the exercise of due diligence.

           12.    MSC CRUISES, through its employees, agents, and/or independent contractors,
Case 0:18-cv-62219-JIC Document 5 Entered on FLSD Docket 10/17/2018 Page 3 of 5



 created the subject dangerous conditions. Additionally, MSC CRUISES had actual and/or

 constructive knowledge of the subject dangerous conditions as it knew or should have known that the

 subject step was unreasonably dangerous because the change in elevation was not readily visible to

 passengers and because the step was dangerously designed and/or dangerously maintained.

        13.     MSC CRUISES is vicariously liable for the negligent acts and omissions of its

 employees, agents, and/or independent contractors committed during the course and scope of their

 employment with MSC CRUISES.

        14.     MSC CRUISES breached the aforementioned duties of care owed to BARBARA

 GLATTER in the following ways:

                a. Failing to maintain the vessel, including the subject steps, in a

                    reasonably safe condition;

                b. Failing to exercise reasonable care under the circumstances;

                c. Failing to provide a reasonably safe walking space;

                d. Failing to properly warn passengers, including BARBARA

                    GLATTER, of the subject dangerous condition(s) that MSC

                    CRUISES knew, or, in the exercise of reasonable care, should have

                    known, existed;

                e. Failing to properly warn passengers, including BARBARA

                    GLATTER, of the change in elevation;

                f. Creating the subject dangerous conditions;

                g. Failing to remedy the dangerous condition(s) of which MSC

                    CRUISES knew or should have known;

                h. Failing to comply with applicable building, construction, design, and

                    safety codes and regulations;
Case 0:18-cv-62219-JIC Document 5 Entered on FLSD Docket 10/17/2018 Page 4 of 5



                 i.   Failing to take reasonable precautionary measures so that passengers

                      were not injured while on the subject deck, including, but not limited

                      to, providing adequate markings, warnings, and lighting so that

                      passengers could immediately observe the change of elevation, and

                      providing handrails that were readily viewable from all angles;

                 j.   Failing to design and maintain a step that was reasonably safe for

                      passengers;

                 k. Other acts of negligence to be discovered throughout discovery.

        15.      As a direct and proximate result of the aforementioned negligence of MSC CRUISES,

Plaintiff, BARBARA GLATTER, was injured, suffered physical impairment and/or disability, mental

anguish, loss of capacity for the enjoyment of life, pain and suffering, the aggravation of pre-existing

conditions, inconvenience, permanent disability, loss of earnings and/or wages, loss of earning

potential, and incurred the costs of reasonable and necessary medical expenses for the treatment of her

injuries. These losses and injuries are permanent and continuing in nature, and Plaintiff will continue

to suffer them in the future.

         WHEREFORE, Plaintiff, BARBARA GLATTER, demands judgment for damages against

Defendant, MSC CRUISES S.A., in excess of the minimal jurisdictional limits of this Court, as well as

pre-judgment and post judgment interest, and costs in bringing this action, and further demands trial by

jury.
Case 0:18-cv-62219-JIC Document 5 Entered on FLSD Docket 10/17/2018 Page 5 of 5



                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 17, 2018, I electronically filed the foregoing document

with the Clerk of Court using CM/ECF. I also certify that, pursuant to agreement with counsel for

Defendant, the foregoing document is being served via e-mail this day on counsel for Defendant, Steve

Holman,    Esq.,   Maltzman    &    Partners,    P.A.,   55   Miracle   Mile,   Miami,   FL   33134,

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